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Granting   Grant Number      Project Name / Notes                        Grant Program              Grant               Decl. Cite         Grant agreement under review;
Agency                                                                                              Recipient                              Presently Paused; Accessible to
                                                                                                                                           Grantees; Terminated (As of 4/22/2025)

DOE        DE-SE0001546      Assistance for Latest and Zero Building     Assistance for Adoption of City of Baltimore   Baltimore Decl., Award No. DE-SE0001546 is a conditional
                             Energy Code Adoption                        the Latest and Zero                            Ex. 14-C         award. Therefore, the grant funds have
                                                                         Building Energy Codes                                           never been - and are not presently -
                                                                                                                                         accessible to the grantee. Per the terms of
                                                                                                                                         the award, “the availability of funds to the
                                                                                                                                         Recipient for payment of costs incurred by
                                                                                                                                         the Recipient is conditioned upon the
                                                                                                                                         Grants Officer’s review and approval of the
                                                                                                                                         Recipient's application and the completion
                                                                                                                                         of negotiations.”


EPA        5F-03D33625-0     Youth Empowerment Strategies 4              Environmental and Climate Earth Island         Earth Island       Termination in Progress*
                             Environmental Justice                       Justice Block Grant –     Institute            Decl., Ex. 8- D
                                                                         Community Change Grant


EPA        3D30824           Community Change Grant                      Environmental and Climate Sustainability       Sustainability     Termination in Progress*
                                                                         Justice Block Grant -     Institute            Institute Decl.,
                                                                         Community Change Grant                         Ex. 1- B


EPA        97T28301          Inflation Reduction Act - Environmental and Environmental and Climate Leadership Counsel Leadership           Termination in Progress*
                             Climate Justice                             Justice Block Grant -     for Justice and    Counsel Decl.,
                                                                         Community Change Grant Accountability        Ex. 9- A


EPA        96272300          Uplifting Bronx Voices for Climate Change   Environmental and Climate Bronx River          Bronx River        Termination in Progress*
                             Resilience                                  Justice Block Grant -     Alliance             Decl., Ex. 5- B
                                                                         Community Change Grant



EPA        97T28901          Huliau o Wai'anae: Turning Points for a     Environmental and Climate                      Earth Island       Termination in Progress*
                             Sustainable Future.                         Justice Block Grant -     Earth Island         Decl., Ex. 8- B
                                                                         Community Change Grant Institute


EPA        00A01479          Elm City Climate Collaborative              Environmental and Climate City of New Haven New Haven       Termination in Progress*
                                                                         Justice Block Grant -                       Decl., Ex. 18-C
                                                                         Community Change Grant
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                                Climate Resilience Starts at Home: Growing   Environmental and Climate                        Madison Decl.,
                                Energy Efficiency, Indoor Air Quality, and   Justice Block Grant -                            Ex. 16-A
EPA          0E+00000           Green Jobs in Madison and Fitchburg,         Community Change Grant City of Madison                              Closed
                                Wisconsin


                                                                             Environmental and Climate                  New Haven
                                                                             Justice Block Grant -                      Decl., Ex. 18-A
             00A01441           Electrify New Haven                          Government to Government City of New Haven                 Terminated
                                                                             Grant
EPA
EPA          95336801           DPW YH20+ Expansion II                       Environmental and Climate City of Baltimore      Baltimore Decl.,
                                                                             Justice Block Grant -                            Exs. 14-C, 14-D
                                                                             Government to Government
                                                                             Grant                                                               Terminated




EPA          03D03424           North Mecklenburg Air Monitoring Network Environmental Justice            CleanAIRE NC        CleanAIRE NC
                                                                         Collaborative Problem-                               Decl., Ex. 6-B Terminated
                                                                         Solving

EPA           96229424          Partnership for Urban Waterways in Bronx     Environmental Justice        Bronx River         Bronx River
                                and Lower Westchester Counties, New York     Collaborative Problem-       Alliance            Decl., Ex. 5- D    Terminated
                                                                             Solving

EPA          00A01475           Union Station Area Thermal Energy Network Climate Pollution               City of New Haven New Haven       Accessible to grantees
                                                                          Reduction Grant Program                           Decl., Ex. 18-B


EPA          95335901           Bowley’s Lane Composing Facility             Solid Waste Infrastructure   City of Baltimore   Baltimore Decl., Accessible to grantees
                                                                             for Recycling Grant                              Ex. 14-A
                                                                             Program


EPA / NFWF   0602.24.082555     Accelerating Clean Water and Conservation    Innovative Nutrient and   Alliance for the  Alliance for the Accessible to grantees
                                Outcomes in Shenandoah Valley (VA)           Sediment Reduction Grants Shenandoah Valley Shenandoah
                                                                             Program                                     Decl., Ex. 4- E


USDA         AM22FFWPA0013      Collaborative Farm Worker and Meatpacking Agricultural Marketing          Pasa                                   Presently paused because previously
                                Worker 14-State COVID Relief Fund Project Service Farm and Food                               Pasa Decl., Ex.    identified on DEIA list. Payments made
                                                                          Worker Relief                                       12-B               through Jan. 19, 2025.


USDA         2022-70416-37195   Subaward with National Young Farmers         American Rescue Plan         RAFI-USA            RAFI-USA        Accessible to Grantees
                                Coalition                                    Technical Assistance                             Decl., Ex. 13-H
                                                                             Investment Program
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USDA    NR225F48XXXXC002   Organic Technical Staffing Assistance          Conservation Stewardship                   Marbleseed
                                                                          Program: Organic Technical                 Decl., Ex. 10-C
                                                                          Assistance Grant                                             Accessible to Grantees. Most recent
                                                                                                     Marbleseed
                                                                                                                                       payment completed on 4/11/25.


USDA   NR223A750003C062    Subaward with RAFI-USA                         Conservation Technical    Alliance for     Alliance for      Agreement closeout completed. Award no
                                                                          Assistance Cooperative    Agriculture      Agriculture       longer active as of 11/14/24.
                                                                          Agreement                                  Decl., Ex. 3- D


USDA   FSA24CPT0014403     Distressed Borrower Technical Assistance       Distressed Borrower       RAFI-USA         RAFI-USA,       Payment was paused due to IRA funding,
                                                                          Assistance Network                         Decl. Ex. 13- D but was released on Friday pursuant to
                                                                          Program                                                    Woonasquatucket injunction and the
                                                                                                                                     payments are in process. There are
                                                                                                                                     corrections that are pending on the payment
                                                                                                                                     requests.
USDA   NR242D37XXXXG002    In Pennsylvania to help improve grazing        Environmental Quality     Pasa             Pasa Decl., Ex.   Accessible to Grantees. Payment completed
                           success and associated economic,               Incentives Program –                       12-D              4/14
                           environmental, and social co-benefits,         Conservation Innovation
                           including animal health, soil health, carbon   Grants
                           sequestration, cost savings, water quality



                                                                          Equity in Conservation
                                                                          Outreach Cooperative
                                                                          Agreement                                                    Presently paused because previously
                           Expanding RAFI-USA’s Conservation                                                         RAFI-USA
USDA   NR243A750003C062                                                                             RAFI-USA                           identified on DEIA list. Payments made
                           Resources for Resilient Farms Project                                                     Decl. Ex. 13- B
                                                                                                                                       through Jan. 19, 2025.


                           Deliver outreach and education programming Equity in Conservation        Organic
                           to increase awareness of and participation in Outreach Cooperative       Association of
                           NRCS programs, services and leadership        Agreement                  Kentucky (OAK)                  Presently paused because previously
                           opportunities in agriculture and                                                          OAK Decl., Ex.
USDA    NR243A750003C045                                                                                                            identified on DEIA list. Payments made
                           natural resource conservation in Kentucky.                                                11-B
                                                                                                                                    through Jan. 19, 2025.



                           Increase Land, Capital, and Market Access for Increasing Land, Capital,                   Agrarian Trust    Payment was paused due to IRA funding,
                           Underserved Farmers on a Mid-size National and Market Access Program                      Decl., Ex. 2-A    but was released on Friday pursuant to
                           Landscape using New Model, Agrarian                                                                         Woonasquatucket injunction and the
USDA   FSA24GRA0011586     Commons                                                                 Agrarian Trust                      payments are in process. There are
                                                                                                                                       corrections that are pending on the payment
                                                                                                                                       requests.
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USDA   FSA24CPT0013706     Gaining New Ground                            Increasing Land, Capital, RAFI-USA              RAFI-USA          Payment was paused due to IRA funding,
                                                                         and Market Access Program                       Decl, Ex. 13- F   but was released on Friday pursuant to
                                                                                                                                           Woonasquatucket injunction and the
                                                                                                                                           payments are in process. There are
                                                                                                                                           corrections that are pending on the payment
                                                                                                                                           requests.

USDA   FSA23CPT0013706     Gaining New Ground - Subaward with RAFI- Increasing Land, Capital, Alliance for               Alliance for     Payment was paused due to IRA funding,
                           USA                                      and Market Access Program Agriculture                Agriculture      but was released on Friday pursuant to
                                                                                                                         Decl., Ex. 3- B. Woonasquatucket injunction and the
                                                                                                                                          payments are in process. There are
                                                                                                                                          corrections that are pending on the payment
                                                                                                                                          requests.
                           Expands markets for climate-smart dairy, beef Partnerships for Climate-    Conservation       Cons. Innovation Recipient notified award will be terminated.
                           and poultry industry in DE, NC, NJ, NY, MD, Smart Commodities              Innovation Fund    Fund Decl., Ex. Payment will be processed for expenses up
                           OH, PA, SC,                                   Program                                         7-A              through the date of notice.
USDA   NR233A750004G045    TN, VA and WV and supports the
                           implementation and monitoring of climate-
                           smart practices.
USDA   NR233A750004G045    Subaward with Conservation Innovation Fund Partnerships for Climate-       Alliance for the  Alliance for the Recipient notified award will be terminated.
                                                                      Smart Commodities               Shenandoah Valley Shenandoah       Payment will be processed for expenses up
                                                                      Program                                           Decl., Exs. 4-   through the date of notice.
                                                                                                                        A, 4-B
                           Expands climate-smart wheat, grain, specialty Partnerships for Climate-                                         Recipient notified award will be terminated.
                           and organic crop markets in IA, IL, IN, KS, Smart Commodities                                                   Payment will be processed for expenses up
                           KY, MI,                                       Program                                         Marbleseed        through the date of notice.
USDA   NR243A750004G010    MN, MO, ND, NE, OH, SD, TN, WI                                             Marbleseed
                                                                                                                         Decl., Ex. 10-B
                           and supports farmer CS practice
                           implementation and monitoring.
USDA   NR233A750004G025    Expands markets in the Eastern US for          Partnerships for Climate-   Pasa               Pasa Decl., Ex.   Recipient notified award will be terminated.
                           climate-smart dairy, grain, livestock, organic Smart Commodities                              12-A              Payment will be processed for expenses up
                           and specialty crops; supports farmer and       Program                                                          through the date of notice.
                           rancher climate-smart practice implementation
                           and monitoring


USDA    NR233A750004G092   Expand markets for climate-Smart grass-fed Partnerships for Climate-       Organic            OAK Decl.,        Recipient notified award will be terminated.
                           lamb, grass fed beef, corn, soybeans, small   Smart Commodities            Association of     Ex.11-D           Payment will be processed for expenses up
                           grains, produce, dairy, agroforestry and hemp Program                      Kentucky (OAK)                       through the date of notice.
                           in Kentucky; supports socially
                           disadvantaged farmers
USDA   NR233A750004G080    Subaward with A Greener World (AGW)           Partnerships for Climate-    RAFI-USA           RAFI Decl., Ex. Recipient notified award will be terminated.
                                                                         Smart Commodities                               13-J            Payment will be processed for expenses up
                                                                         Program                                                         through the date of notice.
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USDA                      FSA23CPT0013667                   Resources for Resilient Farms                            Rural Development Policy           RAFI-USA                 RAFI-USA             Grant manager working with program
                                                                                                                     Cooperative Agreement                                       Decl, Ex.            manager on process for unfreezing the
                                                                                                                                                                                                      award.

USDA                      FSA23CPT0012856                   Collaborative Approaches for Impact for                  Urban Agriculture and              Pasa                     Pasa Decl., Ex.      Accessible to Grantees. Payment submitted
                                                            Philadelphia Urban and Innovative                        Innovative Production                                       12-C                 on 4/7/25 and staff are
                                                            Agriculture                                              Grant                                                                            reviewing/processing.

                                                                                                                     Urban and Community                                         San Diego Decl.,
                                                                                                                     Forestry Grant                                              Ex. 20-A
USDA                      24-DG-11052021-228                Ready, Set, Grow San Diego                                                                  City of San Diego                             Accessible to Grantees.



USDA                      23-DG-11094200-363                Subaward of Ohio Department of Natural                   Urban and Community                City of Columbus         Columbus Decl., Accessible to Grantees.
                                                            Resources                                                Forestry Grant                                              Ex. 15-A



USDOT                     N/A                               East Nashville Spokes                                    Active Transportation              City of Nashville        Nashville Decl., No grant agreement completed. Grant
                                                                                                                     Infrastructure Investment                                   Ex. 17           agreement under review.
                                                                                                                     Program

USDOT                     N/A                               Electrify Music City                                     Charging and Fueling               City of Nashville        Nashville Decl., No grant agreement completed. Grant
                                                                                                                     Infrastructure Grant                                        Ex. 17           agreement under review.
                                                                                                                     Program




* EPA reports that payment for expenses properly incurred during the pendency of termination will be available as part of the termination closeout process pursuant to the terms of the grant agreements.
